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UN|TED STATES OF AMER|CA,

 

 

 

 

Plaintiff,
v. Cr. No. LH'ZOOQ'\' l!\§
OEN\>\€ Roemaol\l ,
Defendant.
ORDER ON ARRA|GNMENT
This cause came to be heard on , 2005. The Assistant United States

Attorney appeared on behalf of the government, and the defendant appeared in person and with the
following counsel, who is retained/appointed:

NAME: cu FF \-lA¢.u\e\,
ADDREss:

 

 

TEL.EPHONE:

 

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause shown
to a District Judge, such period is extended.

-/ The defendant, who is not in custody, may stand on his/ her present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

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United States Magistrate Judge
Charges: m]§LFM W! MQT"| B€ELNUG
wound ; ellswan n Feoiam, OFF\CElL
Assistant U.S. Attorney assigned to case: @DW[U

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The defendant's age is: 31 .

This document entered on the docket sheet in compliance
with Rule 55 and/or 32(b) FRCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20097 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

Frederick H. GodWin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

